Case 2:13-cr-20041-PKH   Document 206   Filed 06/12/14   Page 1 of 6 PageID #: 981
Case 2:13-cr-20041-PKH   Document 206   Filed 06/12/14   Page 2 of 6 PageID #: 982
Case 2:13-cr-20041-PKH   Document 206   Filed 06/12/14   Page 3 of 6 PageID #: 983
Case 2:13-cr-20041-PKH   Document 206   Filed 06/12/14   Page 4 of 6 PageID #: 984
Case 2:13-cr-20041-PKH   Document 206   Filed 06/12/14   Page 5 of 6 PageID #: 985
Case 2:13-cr-20041-PKH   Document 206   Filed 06/12/14   Page 6 of 6 PageID #: 986
